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CLER|(. U.S. DtSTRlCT COURT

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Plaintiff(s), )
CV- 05- é> 63 8 gi g

NOT|CE TO COUNSEL

 

 

 

 

 

 

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Defendant(s). )

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This case has been assigned to the calendar of Judge Manuel L.
Real. '

Counsel are advised that the Court expects strict compliance with
the provisions of the Local ~ Rules and the Federal Rules of Civil
Procedure. NONCOMPL|ANCE MAY LEAD TO THE lMPOSlTlON OF
SANCTlONS WH|CH MAY |NCLUDE THE STR|K|NG OF PLEAD|NGS AND
ENTRY OF JUDGMENT OR D|SM|SSAL OF THE ACT|ON.

The attention of counsel is particularly directed to Local Rule 16.
Counsel should also be guided by the following special requirements
when litigating cases assigned to Judge Real:

1. |NTERROGATORIES: See Local Rules.

2. MOT|ONS: Motions shall be heard on the first and third

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Case 2:05-cv-06689-R-P.]W Document 3 Filed 09/13/05 Page'Z of 3 Page |D #:2

NOT|CE TO COUNSEL ' ' PAGE 2
Monday of each month at 10: 00 A. M., unless otherwise ordered by:_ the
Court. lf the Monday' ls a national holiday, the succeeding Tuesday shall ~
be the motion day. l e,

3. EX PART§ APPLlCAT|ONS: No hearing will be held unless
deemed necessary by the Court; if the Court requires a hearing, the clerk '
will contact the parties and inform them of the date and time. ln the
moving papers’ declaration of notification, the declarant shall state
whether or not the application is opposed; if opposed, the declarant
shall state that the opposing party was informed that the opposing party 1
has twenty-four (24) hours from receipt of the papers to file its
opposition. The matter will then stand submitted.

4. CONTINUANCES: Counsel requesting a continuance must
submit a stipulation with a detailed declaration as to the reason for the
requested continuance or extension of time, together with a proposed
order. Stipulations, including those for second and subsequent
extensions of time to respond to the complaint, are effective ONLY when
approved by this Court. Any stipulation not in compliance with this
order or the Local Rules will automatically be denied without further
notice to the parties.

5. CONFORMED COP|ES: Parties will receive conformed
copies of filed documents only if extra copies and self-addressed
stamped envelopes are submitted along_with their lodged documents,
or if they have signed up for the optical scanning program.

6. REMOVED ACT|ONS: Any answers filed in state court must
be refiled in this Court as a supplement to the petition. Any pending

_ motions must be renoticed in accordance with Local Rule 7.

7. WA|VED LOCAL RULES: (Local Rule 16-14.1): settlement
conferences are NOT mandatory; if the parties mutually agree to the
holding of a settlement conference, they shall contact the clerk. (Loca| '
Rule 7-3): parties are NOT obligated to meet and confer, or file a
declaration in connection thereto, for the purposes of preparing and
filing dispositive motions (to dismiss, summaryjudgment, etc).

Case 2:05-cv-06689-R-P.]W Document 3 Filed 09/13/05 Page 3 of 3 'Page |D #:3

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s. FEDERAL RuLE 26(:): rhis court requires the ronawin§";§.and
counsel are ORDERED to follow this outline: 30 days after the first answering

defendant files a response to the complaint, the parties shall hold an early meeting,
in person, for the purpose of making initial disciosures. Plaintiff's counsel shall

have the duty of scheduling the meeting. The parties shall then file a‘Joint Report ,

of Early Meeting within 14 days of the holding of the Early Meeting of Counse|.
Counsel are informed that approximately 30 days after receipt of the Joint Report,
this Court shall issue an Order setting the dates of the Final Pre-Trial Conference,
and the Trial of the action.

This Court shall not set a “scheduling conference” or issue a “schedu|ing order"
other than as set out previously in this section.

9._ NOTlCE OF TH|S ORDER: Counsel for plaintiff, or plaintiff, if
appearing on his or her own beha|f, is responsible for promptly serving this notice
on defendant’s counsel, and filing a proof of service with the notice attached as an

exhibit with the Court. if this case came to the Court via a Noticed Removal, this

burden falls to the removing defendant

SEP 13 2005

Date A UEL L. REAL
U. S. D|STR|CT'JUDGE‘

 

